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smg         New York City Dept. Of Finance           345 Adams Street, 3rd Floor       Attn: Legal Affairs − Devora
            Cohn        Brooklyn, NY 11201−3719
smg         New York State Tax Commission             Bankruptcy/Special Procedures Section        P.O. Box 5300         Albany,
            NY 12205−0300
smg         United States Attorney's Office        Southern District of New York        Attention: Tax & Bankruptcy
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4933333     B&N REALTY HOLDING CORP.                    BONDI & IOVINO           1055 FRANKLIN AVENUE, SUITE
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4576193     Chase        800 Brooksedge Blvd           Westerville, OH 43081
4576192     Citibank        PO Box 769013           San Antonio, TX 78245−9013
4576195     Davis Electronics        Attn: Jason Levine        419 Park Avenue South, Ste 504         New York, NY 10010
4576200     Doron Kessel         Attn: Bruce Lederman          567 Broadway        Massapequa, NY 11758
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          06484
4576196   Harlington Realty         Attn: Jason Levine        419 Park Avenue South, Ste 504        New York, NY 10010
4576202   Honeywell, Inc.         39 Old Ridgebury Road          Danbury, CT 06810
4812672   JPMorgan Chase Bank, NA             Attn: Recovery AZ1−1004           201 North Central Avenue, Floor
          17       Phoenix, AZ 85004−0073
4597608   NORTH FORK BANK (CAPITAL ONE)                      ATTN: HOWARD JASLOW, ESQ.                1065 AVENUE OF THE
          AMERICAS            NEW YORK, NY 10018
5192249   NYS DEPT OF TAX AND FINANCE                    BANKRUPTCY SECTION                 PO BOX 5300         ALBANY NY
          12205
4576194   North Fork Bank d/b/a Capital One Bank            201 St. Charles Ave, 16th Floor      New Orleans, LA 70130
4576190   Pace Auto Parts, Inc.        10 Park Avenue, Suite 2A         New York, NY 10016
4636261   Prime Automotive Parts Co., Inc.          c/o Paul S. Groschadl, Esq.       700 Crossroads Building     Rochester,
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4576201   Robert Bosch, LLC          2800 South 25th Avenue           Broadview, IL 60155
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5882224   Santander consumer usa           Po box 961245         Fort worth, TX 76161
4739816   Summa Capital Corp.           350 Fifth Avenue, Suite 7612         New York, New York 10118
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